Case 0:21-cv-61176-AHS Document 39 Entered on FLSD Docket 12/15/2021 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 21-61176-CIV-SINGHAL/Valle


  SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

  v.

  PROPERTY INCOME INVESTORS, LLC, et al.,

       Defendants.
  _________________________________________/

                                            ORDER

         THIS CAUSE is before the Court on the Receiver’s First Interim Omnibus

  Application for Allowance and Payment of Professionals’ Fees and Reimbursement of

  Expenses for April 1, 2021—June 30, 2021 (DE [22]) and the Receiver’s Second Interim

  Omnibus Application for Allowance and Payment of Professionals’ Fees and

  Reimbursement of Expenses for July 1, 2021—September 30, 2021 (DE [29])

  (collectively, the “Applications”). The Court having considered the Applications, reviewed

  the file, and finding that cause exists to grant the Applications, it is hereby

         ORDERED AND ADJUDGED as follows:

         1. The Receiver’s First Interim Omnibus Application for Allowance and Payment

             of Professionals’ Fees and Reimbursement of Expenses for April 1, 2021—

             June 30, 2021 (DE [22]) is GRANTED.

                 a. The Court awards the following sums and directs that payment be made

                      from Receivership assets:

                         i. Miranda L. Soto, Esq. as Receiver: $9,278.75; and
Case 0:21-cv-61176-AHS Document 39 Entered on FLSD Docket 12/15/2021 Page 2 of 2




                          ii. Buchanan Ingersoll & Rooney PC: $36,255.50.

            2. The Receiver’s Second Interim Omnibus Application for Allowance and

               Payment of Professionals’ Fees and Reimbursement of Expenses for July 1,

               2021—September 30, 2021 (DE [29]) is GRANTED.

                   a. The Court awards the following sums and directs that payment be made

                       from Receivership assets:

                           i. Miranda L. Soto, Esq. as Receiver: $21,400.50;

                          ii. Buchanan Ingersoll & Rooney PC: $77,524.47;

                          iii. E-Hounds, Inc.: $3,540.50;

                          iv. Kaufman & Company, P.A.: $10,480.00; and

                          v. K. Tek Systems, Inc.: $ 4,300.00.1

            DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 15th day of

  December 2021.




  Copies furnished to counsel of record via CM/ECF




  1
      Payment to be made to Buchanan Ingersoll & Rooney PC.


                                                    2
